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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,       )           CR NO. 07-00268-01 JMS
                                 )
           Plaintiff,            )           ORDER GRANTING THE
                                 )           GOVERNMENT’S APPEAL OF THE
      vs.                        )           MAGISTRATE JUDGE’S ORDER
                                 )           REGARDING CONFLICT OF
 NELSON GAITAN-AYALA, (01)       )           INTEREST OF ATTORNEY MYLES
                                 )           BREINER
           Defendant.            )
 _______________________________ )


      ORDER GRANTING THE GOVERNMENT’S APPEAL OF THE
      MAGISTRATE JUDGE’S ORDER REGARDING CONFLICT OF
            INTEREST OF ATTORNEY MYLES BREINER

                               I. INTRODUCTION

             On January 29, 2008, the government filed a motion to determine

 whether a conflict of interest arose from Attorney Myles S. Breiner’s (“Breiner”)

 representation of defendant Nelson Gaitan-Ayala (“Gaitan-Ayala”), in light of

 Breiner’s prior representation of two cooperating witnesses who are expected to

 testify as government witnesses at Gaitan-Ayala’s trial. After a hearing on this

 motion, Magistrate Judge Leslie E. Kobayashi entered an Order finding that

 Breiner had no actual or potential conflict. On February 11, 2008, the government

 filed an Appeal of Magistrate Judge’s Order Regarding Conflict of Interest of

 Attorney Myles Breiner (“Appeal”). Based on the following, the government’s
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 Appeal is GRANTED, and Breiner is disqualified from representing Gaitan-Ayala.

                                II. BACKGROUND

              Gaitan-Ayala, along with several co-defendants, is charged with:

 1) one count of conspiring to possess with intent to distribute and distribute 500

 grams or more of a substance containing a detectable amount of methamphetamine

 in violation of 21 U.S.C. § 846; 2) two counts of distributing 50 grams or more of

 methamphetamine, its salts, isomers and salts of its isomers in violation of 21

 U.S.C. §§ 841(a)(1) and (b)(1)(A); and 3) two counts of using a communication

 facility in causing and facilitating the commission of a conspiracy to possess with

 intent to distribute and distribute methamphetamine, its salts, isomers and salts of

 its isomers in violation of 21 U.S.C. § 843(b).

              According to the government, Gaitan-Ayala was the leader of a drug

 trafficking organization (“DTO”) which transported methamphetamine via

 couriers and mail from Nevada to Hawaii. Breiner entered his appearance as

 privately retained counsel for Gaitan-Ayala on December 28, 2007. On January

 29, 2008, the government filed a Motion for Hearing on Conflict of Interest of

 Myles Breiner (“January 29, 2008 Motion”), seeking resolution of any potential

 conflict of interest as the result of Breiner’s former representations of Jason Ciufo

 and Cory Kauwili, two of the government’s prospective witnesses against Gaitan-

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 Ayala.1

                Breiner represented Jason Ciufo arising from Ciufo’s June 3, 2004

 arrest at the Honolulu International Airport while body-carrying approximately

 673 grams of methamphetamine. Ciufo pled guilty in May 2006, and was

 sentenced to 68 months imprisonment after receiving a downward departure

 pursuant to United States Sentencing Guidelines § 5K1.1 for his substantial

 assistance in the investigation or prosecution of another individual.2

                On February 7, 2008, Magistrate Judge Kobayashi held a hearing on

 the January 29, 2008 Motion. At that hearing, Assistant U.S. Attorney Susan

 Cushman (“AUSA Cushman”) informed the court that Ciufo is scheduled to testify

 at Gaitan-Ayala’s trial on behalf of the government in exchange for the possibility

 of a reduced sentence pursuant to Federal Rule of Criminal Procedure 35(b).3 Tr.

 2/7/08 at 3. AUSA Cushman proffered that the methamphetamine that Ciufo was


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          Given the court’s conclusion that Breiner must be disqualified from representing Gaitan-
 Ayala based on Breiner’s former representation of Ciufo, the court does not address Breiner’s
 former representation of Kauwili.
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          Ciufo was traveling with Arte Perreira on a flight originating in Las Vegas. Perreira was
 also arrested after he was found to be body-carrying approximately 672 grams of
 methamphetamine. Ciufo’s guideline range was determined based on the quantity of
 methamphetamine carried by both Ciufo and Perreira, approximately 1345 grams.
        3
          AUSA Cushman later noted at the February 20, 2008 hearing before this court that she
 traveled to Sheridan, Oregon where Ciufo is currently incarcerated to arrange for Ciufo’s
 cooperation and testimony against Gaitan-Ayala and his co-conspirators.

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 transporting from Las Vegas to Honolulu on the day of his arrest “was from the

 Ayala drug trafficking organization. Mr. Ciufo, when this case goes to trial will

 be called as a witness to testify about the -- the conspiracy. He’s a witness to the

 conspiracy.” Id.

              Breiner responded that Ciufo did not know Gaitan-Ayala, and if

 called to testify Ciufo would not directly implicate Gaitan-Ayala in any

 conspiracy. In addition, Breiner represented to the court that any privileged

 communications imparted by Ciufo to him were also disclosed to the government

 during his debriefings. Id. at 8.

              Magistrate Judge Kobayashi questioned Gaitan-Ayala regarding any

 actual or potential conflicts of interest based on Breiner’s former representation of

 Ciufo and Kauwili. Gaitan-Ayala affirmed his desire to have Breiner continue as

 his counsel and waived his right to conflict-free representation. Id. at 14-21.

 Magistrate Judge Kobayashi entered an Order finding that the government failed

 to demonstrate an actual or serious potential for conflict and that it was not

 necessary to conduct a colloquy with Ciufo. The government filed its appeal of

 the Order on February 11, 2008, and Gaitan-Ayala filed a response on February

 19, 2008. This court heard oral arguments on February 20, 2008.

              During the February 20, 2008 hearing, AUSA Cushman further

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 proffered that Ciufo’s testimony, although not directly implicating Gaitan-Ayala,

 would prove that the methamphetamine that Ciufo possessed at the time of his

 arrest is attributable to Gaitan-Ayala as a member of the conspiracy. See United

 States Sentencing Guidelines § 1B1.3. Specifically, the government claims that at

 the time of his arrest Ciufo was involved in a drug transaction with his girlfriend,

 Roxanne Bates, and that Gaitan-Ayala was ultimately responsible for the shipment

 of these drugs.

              Breiner confirmed during the February 20, 2008 hearing that he was

 actively seeking a Rule 35(b) motion on behalf of Ciufo based on the charges

 brought against Roxanne Bates. In fact, Breiner discussed Ciufo’s cooperation

 with the United States Attorney’s Office in late January 2008, one month after he

 entered an appearance for Gaitan-Ayala. See Tr. 2/7/08 at 6-7.

                          III. STANDARD OF REVIEW

              A magistrate judge’s order finding that no conflict of interest exists is

 nondispositive. See, e.g., United States v. Bennett, 2006 WL 2793170, at *2 (D.

 Haw. Sept. 27, 2006) (citations omitted). Pursuant to 28 U.S.C. § 636(b)(1)(A),

 this court may reconsider nondispositive pretrial matters “where it has been shown

 that the magistrate’s order is clearly erroneous or contrary to law.”




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                                   IV. ANALYSIS

 A.    The Right to Conflict-Free Counsel

              The Sixth Amendment provides that a criminal defendant shall have

 the right to the assistance of counsel for his defense. One element of this right is

 the accused’s right to select and be represented by the attorney of his choice.

 United States v. Gonzalez-Lopez, 126 S. Ct. 2557, 2561 (2006). Nevertheless, this

 right is not absolute as the “essential aim” of the Sixth Amendment is “to

 guarantee an effective advocate for each criminal defendant, rather than to ensure

 that a defendant will inexorably be represented by the lawyer whom he prefers.”

 Wheat v. United States, 486 U.S. 153, 159 (1988). The Sixth Amendment also

 guarantees a criminal defendant the right to assistance of counsel unburdened by

 conflicts of interest. United States v. Elliot, 463 F.3d 858, 867 (9th Cir. 2006)

 (“Few aspects of our criminal justice system are more vital to the assurance of

 fairness than the right to be defended by counsel, and this means counsel not

 burdened by a conflict of interest.” (citing United States v. Henke, 222 F.3d 633,

 638 (9th Cir. 2000) (per curiam))); Bonin v. California, 494 U.S. 1039, 1044

 (1990) (Marshall, J., dissenting) (“The right to counsel’s undivided loyalty is a

 critical component of the right to assistance of counsel; when counsel is burdened

 by a conflict of interest, he deprives his client of his Sixth Amendment right as

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 surely as if he failed to appear at trial.”). Thus, while there is a presumption in

 favor of a defendant’s counsel of choice, Gonzalez-Lopez, 126 S. Ct. at 2561, “that

 presumption may be overcome not only by a demonstration of actual conflict of

 interest but by a showing of a serious potential for conflict.” Wheat, 486 U.S. at

 164. Determining whether a conflict exists “must be left primarily to the informed

 judgment of the trial court.” Id.

              An attorney’s former representation of a government witness can

 create an actual or serious potential conflict that warrants disqualification. See

 Moss v. United States, 323 F.3d 445, 460 (6th Cir. 2003) (“[T]he most common

 example of an actual conflict of interest arising from successive representation

 occurs when an attorney’s former client serves as a government witness against

 the attorney’s current client at trial.”). In such cases of successive representation,

 “conflicts of interest may arise if the cases are substantially related or if the

 attorney reveals privileged communications of the former client or otherwise

 divides his loyalties.” United States v. Shwayder, 312 F.3d 1109, 1118 (9th Cir.

 2002) (quoting Fitzpatrick v. McCormick, 869 F.2d 1247, 1252 (9th Cir. 1989)

 (internal quotation marks omitted)). Potential dangers in a case involving

 successive representation include: (1) the attorney may be tempted to use

 privileged information learned during the prior representation to the disadvantage

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 of the former client, or (2) the attorney may fail to conduct a rigorous cross-

 examination of the former client for fear of revealing or misusing confidential

 information learned during the prior representation to the disadvantage of the

 current client. See Sanders v. Ratelle, 21 F.3d 1446, 1453 (9th Cir. 1994).

                The court may allow an attorney to proceed despite a conflict “if the

 defendant makes a voluntary, knowing, and intelligent waiver.” United States v.

 Martinez, 143 F.3d 1266, 1269 (9th Cir. 1998) (internal quotation marks and

 citation omitted). Nevertheless, even in cases where a defendant waives an actual

 or potential conflict, district courts have “substantial latitude in refusing waivers

 of conflicts of interest” in favor of disqualification in cases “where a potential for

 conflict exists which may or may not burgeon into an actual conflict as the trial

 progresses.” Wheat, 486 U.S. at 163.4 The Supreme Court has recognized the

 difficulty inherent in these situations:

                       Unfortunately for all concerned, a district court
                must pass on the issue whether or not to allow a waiver
                of a conflict of interest by a criminal defendant not with
                the wisdom of hindsight after the trial has taken place,
                but in the murkier pre-trial context when relationships

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           The Supreme Court’s recent holding in United States v. Gonzalez-Lopez, 126 S. Ct.
 2557 (2006), that an erroneous deprivation of a defendant’s counsel of choice constitutes a
 structural error, does not impair a district court’s ability to disqualify a conflicted attorney over
 the objections of the defendant. See id. at 2565 (stating that “[n]othing we have said today casts
 any doubt or places any qualification upon our previous holdings that limit the right to counsel of
 choice”).

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              between parties are seen through a glass, darkly. The
              likelihood and dimensions of nascent conflicts of interest
              are notoriously hard to predict, even for those thoroughly
              familiar with criminal trials.

 Id. at 162-63.

              In ascertaining the existence of an actual or serious potential conflict,

 the court may look in part to the relevant body of professional rules. See In re

 Grand Jury Investigation, 447 F. Supp. 2d 453, 458 (E.D. Pa. 2006) (finding that

 the Rules of Professional Conduct provide a useful guide against which to

 measure the conduct of lawyers subject to a disqualification motion). The Local

 Rules for the District of Hawaii require attorneys practicing in the district to

 comply with the Hawaii Rules of Professional Conduct (“HRPC”). See Local

 Rule 83.3.

              HRPC 1.7 provides that:

              (a) A lawyer shall not represent a client if the representation of
              that client will be directly adverse to another client unless:
                 (1) the lawyer reasonably believes the representation will
                     not adversely affect the relationship with the other client;
                     and
                 (2) each client consents after consultation.

              (b) A lawyer shall not represent a client if the representation of
              that client may be materially limited by the lawyer’s
              responsibilities to another client or to a third person, or by the
              lawyer’s own interests unless:
                (1) the lawyer reasonably believes the representation will

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                      not be adversely affected; and
                  (2) the client consents after consultation. When
                      representation of multiple clients in a single matter is
                      undertaken, the consultation shall include explanation of
                      the implications of the common representation and the
                      advantages and risks involved.

                Nonetheless, “when a disinterested lawyer would conclude that the

 client should not agree to the representation under the circumstances, the lawyer

 involved cannot properly ask for such agreement or provide representation under

 the circumstances. When more than one client is involved, the question of conflict

 must be resolved as to each client.” HRPC 1.7 cmt. ¶ 5.

                With these principles in mind, the court next turns to whether a

 conflict exists in this case.

 B.     Breiner Is Disqualified from Representing Gaitan-Ayala

                Applying the clearly erroneous standard of review, the court finds

 that Breiner’s representation of Ciufo creates a serious potential conflict of interest

 warranting his disqualification.5



        5
          Breiner appears to represent Ciufo to this day. Since becoming aware of Roxanne
 Bates’ arrest, Breiner has actively represented Ciufo’s interests by seeking Rule 35 consideration
 from the U.S. Attorney’s Office, as late as January 2008. “When I run into [AUSA] Bev
 [Sameshima] I ask her about it. I asked Special Agent Weiss about it.” Tr. 2/7/08 at 11-12.
 Breiner also stated that he has been updating Ciufo’s grandfather about the status of Ciufo’s case.
 Whether viewed as successive or simultaneous representation, the court reaches the same
 conclusion -- the representation of Ciufo creates a serious potential conflict of interest requiring
 disqualification.

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              Breiner’s divided loyalties between Gaitan-Ayala and Ciufo create an

 ethical impasse -- the adherence to his duties to one client will likely necessitate

 the abandonment of his duties to the other. United States v. Lanoue, 137 F.3d 656,

 663-64 (1st Cir. 1998) (upholding disqualification prior to trial where defense

 counsel formerly represented potential government witness). Ciufo is expected to

 testify to facts that, if true, would prove the existence of a conspiracy. Although

 Ciufo will not offer evidence of Gaitan-Ayala’s direct involvement in the

 conspiracy, the government has proffered that others will provide the connection

 between Gaitan-Ayala and the conspiracy. Should the government succeed in this

 endeavor, the methamphetamine Ciufo body-carried on June 3, 2004 may be

 attributable to Gaitan-Ayala if convicted. See United States Sentencing Guideline

 § 1B1.3.

              Given these stakes, Breiner’s duty of undivided loyalty to Gaitan-

 Ayala may lead him to discredit Ciufo, jeopardizing Ciufo’s chances of obtaining

 a reduced sentence. On the other hand, Breiner’s duty of undivided loyalty to

 Ciufo may lead him to foregoing a vigorous cross-examination, leaving Ciufo’s

 assertions largely uncontested (but increasing the likelihood of receiving Rule 35

 consideration). See United States v. Moscony, 927 F.2d 742, 750 (3d Cir. 1991)

 (“[A]n attorney who cross-examines former clients inherently encounters divided

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 loyalties.” (citations omitted)). Breiner’s conflicting duties create a serious

 potential conflict of interest.6

                In addition to constitutional considerations, the ethical standards

 embodied in the HRPC weigh against Breiner’s continued representation of

 Gaitan-Ayala in this case. Based on his ethical duties to Ciufo, Breiner may

 severely limit or restrict the scope of his cross-examination, or may refrain from

 pursuing defense strategies or tactics otherwise available to non-conflicted

 counsel. These concerns are further amplified by the fact that Breiner’s

 continuing duty of confidentiality prevents the disclosure of not only confidential

 communications, but also “all information relating to the representation, whatever

 its source.” HRPC 1.6(a); id. cmt. ¶ 5. Under these circumstances, a

 “disinterested” attorney would not conclude that Gaitan-Ayala should agree to

 Breiner’s representation. HRPC 1.7 cmt. ¶ 5.7 Finally, Gaitan-Ayala’s waiver of

 any conflict of interest does not resolve the issue. This court has “an independent


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           If the court affirmed Magistrate Judge Kobayashi’s Order, Gaitan-Ayala could later file
 an ineffective assistance of counsel claim, relying on the conflict as the basis for that claim. See
 Wheat v. United States, 486 U.S. 153, 161 (1988) (noting that the courts of appeals have shown a
 willingness “to entertain ineffective-assistance claims by defendants who have specifically
 waived the right to conflict-free counsel”).
        7
          Breiner also risks violating HRPC 1.9 because his former representation of Ciufo
 involved matters “substantially related” to Gaitan-Ayala’s case, and the interests of his former
 and current clients are “materially adverse.” HRPC 1.9(a); see also United States v. Shwayder,
 312 F.3d 1109, 1118 (9th Cir. 2002).

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 interest in ensuring that criminal trials are conducted within the ethical standards

 of the profession and that legal proceedings appear fair to all who observe them.”

 Wheat, 486 U.S. at 160.

              Applying the clearly erroneous standard of review, the court

 concludes that Breiner has a serious potential conflict of interest in his

 representation of Gaitan-Ayala that substantially compromises his effectiveness

 and threatens the integrity of the adversarial process. Further, the court rejects

 Gaitan-Ayala’s waiver, finding that Breiner’s disqualification is required under the

 Sixth Amendment.

                                 V. CONCLUSION

              The government has demonstrated a serious potential conflict that

 overcomes the presumption in favor of Gaitan-Ayala’s counsel of choice. The

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 government’s Appeal is GRANTED, and Breiner is disqualified from representing

 Gaitan-Ayala.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, April 17, 2008.



                                             /s/ J. Michael Seabright
                                             _____________________________
                                             J. Michael Seabright
                                             United States District Judge




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